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 7   Lead Counsel for the
     Indirect Purchaser Plaintiffs
 8

 9
                                  UNITED STATES DISTRICT COURT
10
                               NORTHERN DISTRICT OF CALIFORNIA
11
                                      SAN FRANCISCO DIVISION
12
     IN RE: CATHODE RAY TUBE (CRT)            Master File No. CV-07-5944-JST
13   ANTITRUST LITIGATION
                                              MDL No. 1917
14

15                                            SUPPLEMENTAL DECLARATION OF
     This Document Relates to:                MARIO N. ALIOTO IN SUPPORT OF
16                                            INDIRECT PURCHASER PLAINTIFFS’
     All Indirect Purchaser Actions           MOTION FOR AWARD OF ATTORNEYS’
17                                            FEES, REIMBURSEMENT OF LITIGATION
                                              EXPENSES, AND INCENTIVE AWARDS TO
18                                            CLASS REPRESENTATIVES
19                                            Hearing Date: March 15, 2016
                                              Time: 2:00 p.m.
20                                            Judge: Honorable Jon S. Tigar
                                              Court: Courtroom 9, 19th Floor
21                                            Before: Special Master Martin Quinn, JAMS

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        SUPPL. DECLARATION OF MARIO N. ALIOTO IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’
        MOTION FOR ATTORNEYS’ FEES, REIMBURSEMENT OF LITIGATION EXPENSES, AND INCENTIVE
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 1          I, Mario N. Alioto, declare:

 2          1.      I am an attorney duly licensed by the State of California and am admitted to practice

 3   before this Court. I am a partner with the law firm Trump, Alioto, Trump & Prescott, LLP and my

 4   firm serves as Lead Counsel for the Indirect Purchaser Plaintiffs (“IPPs”) in the above-captioned

 5   action. The matters set forth herein are within my personal knowledge and if called upon and sworn

 6   as a witness I could competently testify regarding them.

 7          2.      Notice was provided in accordance with the Preliminary Approval Order. Class

 8   members were clearly informed that IPP Counsel would move for an award of attorneys’ fees of up

 9   to one-third of the Settlement Fund. The Fee Motion was also posted on the website more than 14

10   days before objections were due.

11          3.      Only nine objections to the attorney fee request were filed by a total of ten objectors,

12   out of millions of indirect purchaser class members.1 Two of these objectors, Paul Palmer and

13   Gordon Morgan, have moved to withdraw their objections. (See Dkt. Nos. 4130 and 4165.) Seven

14   of the objections were filed by “serial” or “professional” class-action objectors who file boilerplate

15   objections and subsequent appeals in order to extract a pay-off to drop the appeals.2 Another of the

16   objections was filed by two attorneys from this case, whose motivations are similarly suspect.3 And

17

18

19

20   1
       Objections were filed by Donnie Clifton (Dkt. No. 4099); Sean Hull, Gordon Morgan (Dkt. No.
21   4101); Douglas St. John (Dkt. No. 4106); John Finn, Laura Townsend Fortman (Dkt. No. 4111);
     Dan L. Williams & Co. (Dkt. No. 4112); Francis Scarpulla and Josef Cooper (Dkt. No. 4115); Paul
22   Palmer (Dkt. No. 4120); Josie Saik (Dkt. No. 4140-3); and Elizabeth Johnson (Dkt. No. 4128).
     2
       Attorneys Miller, Kress, Fortman, Bandas, Hanigan, Palmer, Thompson, Westfall, Cochran and St.
23   John routinely represent objectors challenging class action settlements by filing canned objections.
     See IPPs’ Mot. For Final Approval of Class Action Settlements with Defendants (“Final App. Mot.”)
24   and Additional Declaration of Robert J. Gralewski in Support of IPPs’ Mot. for Final Approval of
     Class Action Settlements with Defendants, and Appendices A through N thereto (filed herewith).
25   Mr. Palmer has already moved to withdraw his objection (Dkt. No. 4130), and Messrs. Bandas and
     Hanigan have moved to withdraw the objection of one of their clients, Gordon Morgan (Dkt. No.
26   4165).
     3
27     See further Final App. Mot.; Declaration of Mario N. Alioto in Support of Indirect Purchaser
     Plaintiffs’ Motion for Final Approval of Settlements (“Alioto Settl. Decl. II.”).
28                                                1
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 1   I believe the final objection (Williams) was filed at the behest of another attorney from this case who

 2   has objected to the Proposed Settlements.4

 3          4.      In the LCD litigation, Best Buy went to trial against Toshiba. During the trial,

 4   Toshiba presented evidence of its non-prosecution by the DOJ as part of its defense. The jury

 5   returned a defense verdict in favor of Toshiba. These facts of non-prosecution made IPPs’ trial

 6   preparation and settlement negotiations far more difficult.

 7          5.      I have reviewed the meeting reports produced by defendant Chunghwa Picture Tubes,

 8   Ltd. (“Chunghwa”). Many of the meeting reports provided to IPPs by Chunghwa are duplicate

 9   reports of the same meeting; and while some of the meeting reports were helpful, many others were

10   not. Many indicated that (a) Defendants did not reach agreements on CRT prices; (b) the prices

11   agreed to at the meetings were not implemented by Defendants; and (c) several Defendants did not

12   participate in the meetings and/or they consistently undercut their competitors.

13          6.      Based upon my review, the Defendants’ market shares changed fundamentally in the

14   early 2000’s as a result of Panasonic’s exit from the CDT business; the formation of LPD by LG and

15   Philips in 2001; Hitachi’s exit from the CRT market in 2002; the formation of MTPD by Panasonic

16   and Toshiba in 2003; and Thomson’s exit from the CRT business in 2004. As a result of this market

17   consolidation, Samsung SDI’s overall CRT market share in 2004 was 29%, and LPD’s (for which

18   IPPs held Philips responsible) was 27%. Their shares of the CDT market were even higher: 42%

19   (SDI) and 32% (LPD). In addition, each held even higher shares of the U.S. CRT market and, unlike

20   some of the other Defendants, IPPs had strong evidence of their conspiratorial activities here in the

21   U.S. The settlement amounts paid by Samsung SDI and Philips are entirely consistent with their

22   market shares and the liability evidence.

23          7.      An examination of the lodestars of each firm that submitted declarations in support of

24   IPPs’ Fee Motion establishes that each firm’s lodestar is consistent with the work assignments made

25

26   4
       Objector Williams’ counsel, Paul Justi, is acquainted with Theresa Moore, who is counsel of record
27   in this case and has objected to the Proposed Settlements. Mr. Justi and Ms. Moore have been co-
     counsel on several cases. See Alioto Settl. Decl. II.
28                                                2
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 1   by me. Only four firms recorded very significant lodestars, and less than two dozen firms did the

 2   overwhelming amount of the work. None of it was duplicative or unnecessary.

 3           8.      Most of the other firms with lodestars over $2 million were assigned a particular

 4   defendant for the entire case. For example, Straus & Boies handled discovery (including meet and

 5   confers) with defendant Samsung SDI; prepared for Samsung SDI depositions (a Straus & Boies

 6   associate who speaks Korean was invaluable to this team); led the foreign language document

 7   review team; assisted with translation objections; prepared a comprehensive meeting grid; drafted

 8   the opposition to Defendants’ motion for summary judgment for lack of antitrust standing; and took

 9   a lead role in the preparation of IPPs’ trial exhibit list and otherwise preparing for trial.

10           9.      Kirby McInerney led all class representative discovery; led the FTAIA document

11   review team; prepared for and took the depositions of 12 Samsung SDI witnesses; led the DAP

12   deposition team; and was heavily involved in preparing for trial, including reviewing potential trial

13   exhibits, designating deposition testimony, preparing class representative witnesses and attending

14   mock trials.

15           10.     Zelle Hofmann handled Panasonic/MTPD discovery, including meet and confers,

16   written discovery, and prepared for and took the depositions of Panasonic/MTPD witnesses; expert

17   work and briefing at class certification and merits stages; expert depositions; and assisted with trial

18   preparation, including preparing Dr. Netz to testify at trial, trial exhibits and deposition designations

19   relevant to Panasonic/MTPD, and participating in the mock trials.

20           11.     KAG Law Group had a major role in the preparation of almost all briefings on behalf

21   of IPPs (such as oppositions to motions to dismiss and summary judgment motions); participated in

22   settlement negotiations and overall settlement strategy, and conferred with Lead Counsel on often a

23   daily basis; had primary responsibility for handling issues regarding the Philips/ California Attorney

24   General settlement; co-led the Hitachi document review team; and assisted in deposition and trial

25   preparation (including identifying trial exhibits and designating deposition testimony).

26           12.     Andrus Anderson LLP was assigned to defendant Hitachi (which includes five

27   separate entities); Bramson Plutzik was assigned to defendant Toshiba (four separate entities, as well

28                                               3
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 1   as its joint venture, MTPD); Glancy Prongay & Murray was assigned to defendant LG Electronics

 2   (three separate entities, as well as its joint venture LPD); and Cooper and Kirkham was assigned to

 3   defendant Philips (four separate entities, as well as its joint venture LPD). This meant they handled

 4   all document discovery (including lengthy meet and confers, document review and motions to

 5   compel), depositions, summary judgment briefing and trial preparation (including identifying trial

 6   exhibits and designating deposition testimony).

 7           13.     Fine, Kaplan and Black (“FKB”) is one of the trial team firms. FKB oversaw the

 8   review and selection of trial exhibits; oversaw the deposition designations; drafted the jury

 9   instructions; took the lead on briefing the 64 motions in limine; and took a lead role in preparing the

10   presentations for the mock trials and preparing the case for trial.

11           14.     Other firms performed mainly document review, which was an essential part of this

12   case.

13           15.     Fifteen firms had minimal involvement, averaging less than $15,000 in lodestar per

14   year. Many of these firms were the private lawyers for the more than 40 plaintiffs representing 22

15   states in the actions consolidated in this court pursuant to the Class Action Fairness Act of 2005.

16           16.     I am counsel of record in both the indirect purchaser LCD case and the indirect

17   purchaser DRAM case. In the indirect purchaser LCD case, counsel billed 313,000 hours over six

18   years (two years less than this case) and, like here, the case settled just before trial. In the indirect

19   purchaser DRAM case, counsel billed 152,349 hours. The indirect purchaser DRAM case began in

20   late 2004 but slowed in mid-2007 when the court granted a motion for judgment on the pleadings,

21   and was stayed in 2009 pending an appeal. No litigation class was certified and the parties never

22   reached summary judgment.

23           17.     My firm’s total lodestar is much smaller than that of other firms who have served as

24   lead counsel in similar cases, such as indirect purchaser LCD and DRAM. I have personal

25   knowledge of the lodestars of co-lead counsel in these cases. My firm performed all the same duties

26   that these firms performed, yet my firm’s lodestar is less than the lodestar of each of the co-lead

27   firms in LCD—Zelle Hofmann’s lodestar was $22,269,333.50 and Joseph Alioto’s lodestar was

28                                               4
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 1   $18,126,945.80. In the indirect purchaser DRAM case, there are four co-lead firms and one liaison

 2   counsel. The total lodestar for all five firms was $42,278,894. My firm’s lodestar here is only

 3   slightly more than that of Lead Counsel for the DPPs in this case ($14,073,846.00 vs.

 4   $15,745,591.25) even though the DPPs settled with most of the Defendants before merits depositions

 5   began.

 6            18.   Attached as Exhibit A are resumés for the contract attorneys whose time is included
 7   in my firm’s fee request. Most of the contract attorneys hired to work on this case needed to be

 8   fluent in Chinese, Japanese or Korean because the vast majority of the important documents in this

 9   case were in these three foreign languages. At the beginning of the document review, Joseph Patane

10   of my office wrote to all of the firms in the case and asked if anyone had attorneys on staff who

11   spoke one of these languages. Out of the 49 firms, only two firms had an attorney on staff who

12   spoke one of these languages. Thus, in order to search, review and analyze the millions of pages of

13   foreign language documents produced by defendants, my firm and other IPP firms were forced to

14   hire contract attorneys who spoke one or more of these languages.

15            19.   The contract attorneys my firm hired were highly skilled and experienced. In

16   addition to their foreign language skills, many had valuable experience from the related LCD

17   ligation (e.g. Natalie Kabasakalian, David Denison and Veronica Besmer), which meant that they

18   were already familiar with many of the Defendants and players in the CRT conspiracy. Others are

19   experienced lawyers with years of practice under their belts either here or in their home countries.

20   For example, Silvia Yeuh-Yi Shih and Natalie Kabasakalian have both been practicing law for 20

21   years. Veronica Besmer has been practicing law for eight years and is a former associate of

22   Townsend and Townsend and Crew, LLP. David Denison has been practicing law for seven years.

23   Most have multiple degrees from excellent institutions. For example, Veronica Besmer holds

24   degrees from the University of Southern California and the University of California Hastings

25   College of the Law. Bomsu Park holds a Masters of Law from Georgetown University Law Center.

26   Yoobin Kang holds degrees from the University of California Los Angeles, and Loyola Law School.

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28                                               5
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 1          20.     Members of my firm and other IPP firms closely supervised the work of these

 2   contract attorneys. My associate, Lauren Capurro, set up the document review and prepared a

 3   detailed “Coding Manual” that described how the attorneys were to review and code documents,

 4   both procedurally and substantively. Ms. Capurro (with assistance from other IPP firms) also trained

 5   the attorneys on the database and provided them with the pleadings and memoranda regarding the

 6   case, the CRT industry, the Defendants and the various legal issues raised by the claims and

 7   defenses. Ms. Capurro organized the document review into teams with senior attorneys from the IPP

 8   firms designated as team leaders who performed a second-level review of the coding done by their

 9   team members. Ms. Capurro held frequent calls with team leaders, who in turn held weekly

10   conference calls with the team members to provide guidance and feedback regarding the substance

11   of the review. The document review teams produced regular memoranda and list of “hot”

12   documents, which allowed Ms. Capurro and the team leaders to track their progress. Ms. Capurro

13   also conducted spot checks of the coding in the database, and tracked the attorneys’ time spent in the

14   database. Attorneys that were not performing adequately were removed from the review.

15          21.     Because most of the contract attorneys performed primarily document review, their

16   rates were capped at $350 for English document reviewers and $400 for foreign language reviewers.

17   These rates are lower than the billing rates for associates of similar experience. In fact, Lead

18   Counsel billed several of their contract attorneys at less than these caps, e.g. Daifei Zhang ($375),

19   Yoobin Yang ($375), Kelly Patane ($275/$300), and Bomsu Park ($375). Only Veronica Besmer,

20   Natalie Kabasakalian and David Denison were billed at more than $400 for time spent on higher

21   level work. Ms. Besmer is billed at $410 for only 12.3 hours spent on legal research in 2009 and

22   $425 for 13.5 hours spent drafting discovery in 2010. Ms. Kabasakalian’s rate is more than $400 for

23   only 2014 and 2015, and Mr. Denison only for 2015. At that late stage in the case, Ms.

24   Kabasakalian and Mr. Denison had been working on the case for several years and were core

25   members of the team. Both worked extensively on preparations for depositions and trial during this

26   time, and Ms. Kabasakalian also worked on the oppositions to the motions for summary judgment.

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 1           22.    It was my reasoned judgment that it was necessary to bring additional experienced

 2   trial counsel into this case. While I and some of the other attorneys already in the case have tried

 3   antitrust cases, this was a massive and highly complicated case involving 22 certified classes. In

 4   fact, I am not aware of the trial of any post-CAFA case of this nature and magnitude. I therefore

 5   believed it was in the best interests of the class to bring on board some of the only lawyers in the

 6   country who have successfully tried a complex national direct purchaser class action. Joe Goldberg

 7   of Freedman Boyd was trial counsel and Fine Kaplan & Black was co-lead counsel in one of the few

 8   antitrust cases in recent years to go to trial. The Urethanes Antitrust Litigation was tried in the

 9   District of Kansas in early 2013. The four week trial resulted in a judgment of over $1 billion,

10   which is believed to be the largest price-fixing verdict ever.

11           23.    The three trial firms did excellent work in a short amount of time to prepare the case

12   for trial. They were assisted by my firm and the core firms who had been involved in the case all

13   along. By waiting until only five months before trial to bring these firms on board, I believe I saved

14   the Class money while at the same time ensuring that the case was properly prepared for trial. In my

15   opinion, bringing these three firms into the case, and demonstrating to the Defendants that IPPs were

16   ready to go to trial, significantly improved the settlement value of this case with Defendants. The

17   three trial firms began work on this case in early October 2014, not the last two weeks of December

18   2014.

19           24.    The time categories used by IPP Counsel are the same time categories used and

20   approved in the indirect purchaser LCD case, where Mr. Scarpulla was lead counsel.

21           25.    I was forced to intervene in the California Attorney General’s case because Philips

22   took the position that its $500,000 settlement with the AG released the claims of California natural

23   persons in this MDL. Had I not challenged the approval of that settlement, Philips would have had a

24   strong argument at summary judgment that those claims had been released. Indeed, Philips moved

25   for summary judgment on California natural persons’ claims, arguing that the judgment approving

26   its settlement with the California Attorney General released those claims. The ultimate settlement

27   recovery of $175 million from Philips supports the merits of IPPs’ position vis-à-vis Philips, namely

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 1   that the release of California natural persons’ claims for less than $500,000 was not fair, adequate or

 2   reasonable. IPP Counsel’s efforts benefited the class by preserving the claims of California natural

 3   persons.

 4          26.     Mr. Bonsignore is disgruntled because his fee declaration was not included in the

 5   joint fee motion. The Audit Committee determined that it could not submit certain items of

 6   Bonsignore’s time and expenses to the Court as part of the joint lodestar. Mr. Bonsignore did not try

 7   to support his questioned time and expenses. Instead, he has embarked on a campaign of false and

 8   inflammatory statements. He has a track record of disruptive behavior in other cases as well.

 9   Attached hereto as Exhibit B is a true and correct copy of an Order by the Honorable Richard A.
10   Kramer of the San Francisco Superior Court in which he sanctioned Mr. Bonsignore for disruptive

11   behavior in a case entitled Brock v. Honeywell Int’l, Inc., S.F. Super. Ct, No. CGC-04-436205.

12          27.     I have maintained contemporaneous time records throughout this litigation. I have

13   also conducted an audit of all firms’ time records and cut duplicative and unnecessary time. I will

14   make my firm’s time records, and the Audit Committee’s notes and communications regarding this

15   audit available to the Special Master upon request.

16          28.     With respect to IPPs’ request for reimbursement of expenses, certain objectors have

17   requested our accounting records. There is no basis to provide these records to the objectors. I will

18   provide them to the Special Master upon request.

19          I declare under penalty of perjury under the laws of the United States that the foregoing is

20   true and correct. Executed this 19th day of November 2015 at San Francisco, California.

21

22                                                 /s/     Mario N. Alioto
                                                           Mario N. Alioto
23
                                                   Lead Counsel for the Indirect Purchaser Plaintiffs
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        SUPPL. DECLARATION OF MARIO N. ALIOTO IN SUPPORT OF INDIRECT PURCHASER PLAINTIFFS’
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              EXHIBIT A
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BOMSU PARK                                                             2451 Midtown Avenue #1408 Alexandria VA 22303
                                                                       (202) 604-3535 / fanxiu@hotmail.com
EDUCATION
Georgetown University Law Center, Washington, D.C.
Master of Laws in General Studies                                                                            May 2011
Relevant Coursework: Corporation, International Commercial Arbitration, U.S. Income Tax, U.S. Legal Discourse II,
Commercial Law, International Business Transaction, International Bankruptcy, Introduction U.S. Constitutional Law,
Accounting for lawyers

Yonsei University, Seoul, Korea
Bachelor of Laws                                                                                                       February 2010

American University, Washington, D.C.
Master of International Affairs in School of International Service                                     December 2005
  Publication: Contributor to a textbook, “Political Risk Analysis,” Francis Jeffries, Infomundo Publishing
                  Work chapter titled: “Terrorism in East Asia”

Sookmyung Women’s University, Seoul, Korea
Bachelor of Political Science                                                                       February 2003
  Honors:         • Graduated as Honor Student (summa cum laude)
                  • Scholarships for Academic Excellence and from Human Resources Development Service of Korea
  Activities:     • Delegate, the Fifth APEC Future Leader’s Forum, Manila, the Philippines, 2004
                  • Delegate, Harvard Project for Asia International Relations, Seoul, Korea, 2004

WORK EXPERIENCE
Document Project, DuPont v. Kolon                                                                                         April, 2012
Hired by Crowell and Moring, Washington, DC

Document Project, Apple v. Samsung                                                                       February 2012~March, 2012
Hired by Quinn Emanuel Urquhart & Sullivan, LLP, San Francisco, CA

Montagut & Sobral, P.C., Falls Church, VA                                                                   July 2006~February 2008
Paralegal specialized in immigration
          Prepared forms to file immigrant applications to United States Citizenship & Immigration Services.
          Researched and analyzed statutes, recorded judicial decisions, and legal articles pertaining immigration changes.

The Terrorism Research Center, Inc., Arlington, VA                                                 September 2005~December 2005
Asian Intern
          • Responsible for tracking legal and legislative changes related to national security in the Asian region.
          • Posted summarized news regarding terrorist attacks on the research center’s website.

Sookmyung Women’s University, Seoul, Korea                                                              March 2003~December 2003
Teaching and Research Assistant for Dean Hyung Kook Kim
         • Assisted Dean Kim in teaching in “Introduction to Political Science” to undergraduates with individual teaching to
         students who need extra assistance.
         • Served as a principle researcher for several academic publications regarding national security and foreign relations of
         United States, South Korea, North Korea, and China.

LANGUAGE, COMPUTER SKILLS, AND BAR MEMBERSHIP
Language Skills (written and spoken)
          • Native in Korean, fluent in English, University of Washington, Certificate of English Language Program, Seattle,
          Washington, 2002.
Computer Skills
      • Proficient in using MS Office Suite, Mac, Westlaw, Lexis-Nexis.
Bar Membership
      • Licensed to practice law in the state of New York.
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                                                              Daifei Zhang
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 ------------------------------------------------------------------------------------------------------------------------------------------
EDUCATION
2008.8 -2010.5         Santa Clara University School of Law                                    Santa Clara, CA
                        JD 2010
                        Santa Clara Computer & High Technology Law Journal, associate editor
                        Asian Pacific American Law Student Association, member
2007.8 -2008.8         Franklin Pierce Law Center                                           Concord, NH
                        Law School First Year
1998.9 -2002.7         East China University of Science and Technology                          Shanghai, China
                        Bachelor - Polymer Material Science & Engineering, July 2002
                        2nd Major - Applied Mathematics & Software Engineering, July 2002
EXPERIENCE
2010.3 - Date          Technology & Innovation Law Group PC                                   Cupertino, CA
                        Intern
                     • Litigation support, research and draft memos re patent false marking
2010.1- 2010.5         Katharine and George Alexander Community Law Center
                       • Interview and counsel clients in all aspects of immigration law including
                       political asylum and deportation
2010.1- 2010.5        Superior Court of California, County of Santa Clara            San Jose, CA
                     Judicial Intern for Honorable Judge William J. Monahan
                        • Review and research civil discovery motions, draft memos re the same, and propose
                         tentative rulings
2009.8 -2010.1         Technology & Innovation Law Group PC                       Cupertino, CA
                        Intern
                        • Client counseling and interviewing; electrical and mechanical patent prosecution;
                        draft OA responses; patent infringement and invalidity analysis
2009.10 -2010.1        Fernandez & Associates, LLP                              Menlo Park, CA
                        Intern
                        • Draft biomedical patent claims and OA responses; due diligence analysis
                        re patent infringement and invalidity; USPTO e-filing
2009.8 -2010.1         Research Assistant with Professor Anna Han
                        • Work on a casebook about doing business in China; research labor law, real estate development,
                        intellectual property, M&A, and tax issues etc.

2009.5 -2009.8         Packard, Packard & Johnson PC                             Los Altos, CA
                        Law Clerk
                        • Litigation support, Qui tam cases regarding the Anti-Kickback Act and Federal
                        Claims Act, documents analysis in preparation for depositions, hearings and trial
2002.8 -2007.8         State Intellectual Property Office of the PRC                          Beijing, China
                        Patent Examiner
                        • Chemistry patent examination, handled over 600 patent applications
                        • Study of patent search and examination in EPO (Munich, Germany, Oct. 2006)

PERSONAL               • Language: Chinese native (Mandarin); Japanese fluent (JLPT 2)
                     • Interests: Photography, Hiking, Basketball, Snowboarding
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DAVID DENISON
4459 PARK LAWN DR. • DES MOINES, IA 50321 • (319) 471-1176 • DAVID.DENISON@GMAIL.COM

BAR ADMISSION

       Iowa State Bar, Minnesota State Bar, and California State Bar

LEGAL EXPERIENCE

Roxanne Conlin & Associates, P.C., Des Moines, IA
Staff Attorney, 09/08 - Current
    Researched a variety of legal issues for civil rights, employment, medical
       malpractice and personal injury cases
    Drafted briefs, petitions and other legal documents for civil rights, employment,
       medical malpractice, negligence and class action cases
    Managed discovery for civil rights, employment, medical malpractice and
       personal injury cases
    Assisted attorneys with trial document preparation, evidence, motions, research,
       jury instructions, briefs, witness communication, courtroom technology and
       created visual aids for the jury in three civil trials

Trump, Alioto, Trump & Prescott LLP, San Francisco, CA
Independent Legal Consultant, 06/10 – 03/15
    Assisted attorneys with reviewing native-language Japanese documents for a
      large class action
    Provided English translations of numerous Japanese language emails, diaries,
      calendars, and other business documents

Aviva, USA, Des Moines, IA
Contract Legal, 08/08 - 09/08
    Supported the IT Procurement department in an extensive and ongoing
      information technology licensing agreement audit

Blue Coat Systems, San Jose, CA
Contract Legal, 03/08 - 04/08
    Aided the legal department in auditing and interpreting propriety software
      licensing agreements

Tsujimaki Law Offices, Nagoya, Aichi-ken, Japan
Legal Intern, 06/06 - 08/06
    Prepared and translated service agreement contracts for industrial and
       information technology related companies
    Authored an international license agreement for a Japanese robotics company
       seeking to license their products in Europe
    Drafted client memos for several impending information technology lawsuits
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T.M.I. Associates, Roppongi Hills, Tokyo, Japan
Legal Intern, 02/06 - 06/06
    Wrote client memos and performed intellectual property related legal research
       daily
    Provided support and legal analysis for attorneys in copyright and trademark
       infringement cases
    Drafted, translated, and edited license agreements for Japanese companies
       seeking to expand their product lines into the United States

INFORMATION TECHNOLOGY EXPERIENCE

University of Iowa Information Technology Services Help Desk, Iowa City, IA
Senior Student Consultant, 09/99 - 01/08
    Offered excellent customer service regarding computer related issues and
      solutions to over 30,000 students, faculty and staff for over eight years
    Organized and participated in an internal group dedicated to tackling the
      escalating virus and spyware dilemma at the University of Iowa
    Streamlined the computer repair and email response services, significantly
      decreasing the average turn-around time

EDUCATION

The University of Iowa College of Law, Iowa City, IA
J.D., 05/07 (GPA: 3.23)
   Noteworthy coursework:
    Negotiations                          Cyberspace Law
    Commercial Contract Drafting          International Business Transactions
    International Commercial Arbitration  2L Spring spent studying abroad at
                                             Temple University in Tokyo, Japan

The University of Iowa College of Liberal Arts, Iowa City, IA
B.A. in Japanese Language and Literature and Asian Studies, 05/04 (GPA: 3.41)
Minor in Computer Science, 05/04
    Senior year spent studying abroad at Nanzan Daigaku in Nagoya, Japan

SKILLS

       Knowledge and training in performing legal research with LexisNexis and
        Westlaw
       Extensive knowledge of all versions of Windows and Macintosh operating
        system, Microsoft Office and other commonly used business software
       Japanese speaking, reading and writing (Japanese Language Proficiency Test
        Level II certified)
          Case 4:07-cv-05944-JST Document 4373-1 Filed 02/04/16 Page 15 of 39

KELLY PATANE 504 Altair Place, Unit B, Venice, CA 90291
323-472-0770 | kelly@kpatanelaw.com

Bar: California, U.S. District Court (C.D. Cal.)                                                  Dec. 2013

Education

LOYOLA LAW SCHOOL                                                                         Los Angeles, CA
Juris Doctor, Transactional Entertainment/Media Concentration, With Honors                May 2013
GPA & Rank: 4.0 Cumulative GPA in Concentration; Cumulative Ranking- Top 35% as of Spring 2012

UNIVERSITY OF SOUTHERN CALIFORNIA                                                                 Los Angeles, CA
Bachelor of Arts, Communication, Annenberg School for Communication & Journalism                  May 2010
Honors:       Annenberg School for Communication Dean’s List (May 2009- May 2010)

Experience

SOLO PRACTITIONER                                                                                   Venice, CA
Attorney                                                                                            Jan. 2014- Present
     Draft and negotiate artist performance agreements for artists performing at the Heineken House at the Coachella
      Valley Music and Arts Festival and the Outside Lands Music and Arts Festival; Serve as on-site contact for artists
      and brands, and working on-site to ensure contractual obligations are fulfilled
     Draft and negotiate artist promotional services, sponsorship and endorsement agreements; Draft and negotiate artist
      services agreements for appearances in a television commercial for 7UP; Draft and negotiate digital audio-visual
      content distribution agreements
     Draft and negotiate artist performance agreements, streaming rights agreements, sponsorship, independent
      contractor, liability release and vendor agreements for the SnowGlobe Music Festival
     Draft terms of use and privacy policies for websites
     Redline artist booking offer agreement for Ultra Music Festival; Draft artist booking offer agreements for the Corso
      Agency
     Draft and negotiate television talent services agreements; Draft and negotiate shopping agreements; Draft option
      agreements; Draft content representation agreements; Draft and negotiate pilot agreements; Draft talent and location
      releases, Draft and negotiate digital distribution agreements, Draft and negotiate co-production agreements
     Draft and negotiate music distribution agreements
     Draft various intellectual property licensing agreements
     Draft official rules and terms and conditions for online contests, sweepstakes, discount offers and other online
           promotions
     Trademark applications and maintenance

COUNSEL, LLP                                                                                      Venice, CA
Attorney                                                                                          July 2014- July 2015
     Draft, redline and negotiate various entertainment agreements including: touring agreements, artist management
      agreements; content creation and distribution agreements between musicians, digital influencers, brands and
      agencies; sponsorship agreements; producer agreements; song writing and composer agreements; music licensing
      agreements; publishing and administration agreements; recording agreements; artist services agreements; website
      advertising sales representation agreements, digital marketing and agency advertising agreements and various other
      agreements
     Draft, redline and negotiate various corporate transaction agreements including: cease and desist letters, non-
      disclosure agreements, operating agreements, convertible promissory notes, stock option agreements, term sheets,
      advisor and consulting agreements, employment agreements, demand letters
     Draft terms of use and privacy policies for various types of businesses
     Draft and negotiate services agreements and statements of work for software companies

TRUMP, ALIOTO, TRUMP and PRESCOTT, LLP                                                            San Francisco, CA
Intern and Research Assistant; Document Reviewer                              June - Sept. 2011; May 2012 – May 2015
      Performed legal research on The Hague Convention; wrote summaries of law memoranda regarding Antitrust Law
      Perform electronic document review to look for evidence of conspiracy
      Draft memos regarding conspiracy liability, pricing and various other issues
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HERTZ LICHTENSTEIN & YOUNG, LLP                                                                    Century City, CA
Attorney                                                                                           Aug. 2013- July 2014
     Drafted and redlined entertainment agreements including: event sponsorship agreements, brand integration
      agreements, vendor agreements, intellectual property license agreements, talent integration services agreements,
      website terms of service, website privacy policies, independent contractor services agreements, music artist mobile
      application agreements, name and likeness release agreements and various other agreements
    Drafted and redlined corporate transaction agreements including: non-disclosure agreements, settlement agreements,
       operating agreements, convertible promissory notes, stock option agreements, term sheets, advisor and consulting
       agreements, employment agreements and various other agreements
     Advised on business development issues for tech startups

DIM MAK RECORDS                                                                                     Hollywood, CA
Legal Intern                                                                                        Sept. 2012 – May 2013
     Collected licensor information from artists and their representatives; drafted exclusive licensing agreements
     Summarized terms of recording agreements into charts which included details related to the term, territory,
       sublicenses, options, royalties, advances and recoupment; Created a master royalty chart for every Dim Mak release
       and a system to track cross-collateralized royalties

WME ENTERTAINMENT                                                                                Beverly Hills, CA
Intern, TV Business and Legal Affairs                                                            Sept. 2011 – Jan. 2012
      Revised actor agreements after negotiated changes
      Summarized closed deals and updated precedent spread sheets for actors’ agreements

SONY MUSIC ENTERTAINMENT                                                                      Beverly Hills, CA
Licensing Intern                                                                              June 2011 - Sept. 2011
     Performed contract review to crosscheck payments received with terms of licensing agreements
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                                      SABRINA HUITING HE
         35 River Dive South‧Jersey City, NJ 07310‧ (415) 335-3348‧huitinghe.S@gmail.com
LANGUAGE
 Mandarin Chinese (reading, writing, and speaking fluency)

EDUCATION
 The John Marshall Law School, Chicago, Illinois
 Juris Doctor, cum laude, May 2011
 GPA: 3.75/4.00      Class Rank: 19/ 282 (Top 7%)
     Dean’s List: Fall 2008, Spring 2009, Fall 2009, Spring 2010, Fall 2010
     Order of Coif
     Fred F. Herzog Moot Court Competition, Octofinalist, October 2010
     THE JOHN MARSHALL REVIEW OF INTELLECTUAL PROPERTY LAW, Staff Editor, 2009-2010
  University of San Francisco School of Law, San Francisco, California
  Master of Law, May 2008
     International Law Fellow; Class 2008 Highest Academic Performance
  Peking University (Beijing University), Beijing, China
  Bachelor of Law and Bachelor of Science in Psychology, July 2007
  GPA: 3.54/ 4.00     Class Rank: 30/ 180
LEGAL EXPERIENCE
  United States Court of International Trade, New York, New York
  Judicial Intern for Chief Judge Donald C. Pogue, August 2011 to Present.
          Performing legal research and writing for international trade, customs and circuit cases.
  Riggle & Craven, Chicago, Illinois
  Law Clerk for International Trade Group, May 2010 to May 2011.
          Drafted and filed comments and responses in international trade administrative proceedings;
          Translated exhibits and accounting records of foreign producer clients;
          Researched the law of China and the U.S. on issues arising from international trade proceedings;
          Prepared summons; drafted complaints, pre-trial motions, memoranda in support of motions, Joint
           Status Reports, and proposed orders.
  National Immigration Justice Center, Chicago, Illinois
  Interpreter, March 2010 to August 2011.
          Conducted on site translations in U visa, asylum, and other immigration court proceedings and client
           interviews.
  Professor Arthur Acevedo, The John Marshall Law School, Chicago, Illinois
  Research Assistant, January 2010 to May 2011.
          Conducted case law researches on federal securities 10(b) regulations;
          Researched corporate financial statements and trade journals on issues such as materiality of
           management misrepresentation, corporate social responsibility, and tax avoidance by multinationals.
  Chicago Transit Authority (CTA), In-House Law Department, Chicago, Illinois
  Law Extern, January 2010 to May 2010.
          Drafted internal memorandum on Buy America regulations and Illinois state regulations on
           acceptance of charitable contribution by municipality corporations;
          Wrote a legal opinion on terms of use of CTA fare cards.
  ALSTOM, Beijing, China
  In-house Legal Trainee, May 2007 to August 2007.
          Drafted bilingual sales and purchase contracts;
          Wrote legal opinions on antitrust and tax implications of licensing transactions;
          Analyzed the validity of Alstom (Europe) standard licensing contract under the regulations of China
           government and reported to French chief counsel.
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                                SYLVIA YUEH-YI SHIH
              323 Westcliffe Circle, Walnut Creek, CA 94597▪(925)899-8766▪yuehyichou@gmail.com

EDUCATIO
Golden Gate University, School of Law                                                       San Francisco, California
Doctor of Juridical Science                                                                         December 2010
Indiana University – Bloomington, School of Law                                               Bloomington, Indiana
Master of Comparative Law                                                                                 May 1991
Fu Jen Catholic University, Department of Law                                               New Taipei City, Taiwan
 Bachelor of Law                                                                                           June 1987

BAR MEMBERSHIPS
Member of Taipei Bar Association, Taiwan, ROC                                              February 1995 - present

HO ORS
1994 Executive Yuan Outstanding Research Award of the ROC for the research titled “A Study on the Legal
Mechanism of Privacy Protection in the USA.”

LEGAL EXPERIE CE
Law Offices of 周悅儀 (Sylvia Yueh-Yi Chou Shih)                                                        Taipei, Taiwan
Attorney-at-Law                                                                        June 1997 - November 1999
                                                                                          December 2000 - May 2003
                                                                                               January 2011- present
Handled civil and criminal litigation involving patent infringement, performance of government contracts, real
property and easement disputes, bribery, fraud, domestic violence, libel, tax appeals, and mandatory enforcement of
the court judgments. Filed cases with the Supreme Court of ROC. Served as a committee member in charge of jointly
deciding government procurement bidding. Negotiated and implemented agreements to settle disputes and to enhance
business cooperation. Drafted and revised contracts and other legal documents. Advised individual clients,
companies, and the government on international trade, copyright, labor, corporate operation, government
procurement, wills, and family law. Served as a member of the Trial Practice Research Committee of the Taipei Bar
Association. Lectured on wills and juvenile laws in the community.

Liang & Associates, Attorneys-at-Law                                                              Taipei, Taiwan
Associate Attorney                                                              December 1999 - November 2000
Government legal consultant on the Taiwan High Speed Rail Project - provided legal opinions and recommendations
on implementation plans. Conducted due diligence for mergers and acquisitions. Drafted the proposed bids for
government procurement contracts.

Lee & Li, Attorneys-at-Law                                                                         Taipei, Taiwan
Associate Attorney                                                                       October 1995 - June 1997
Managed construction arbitration regarding the Taipei Transit Rail System for the Government of Taipei City.
Handled civil and criminal litigation with an emphasis on white collar crimes, international trade and corporate
disputes. Conducted due diligence for mergers and acquisitions. Drafted briefs for a corporate reorganization case.
Provided legal advice on corporate law for a variety of clients.

Lee & Li, Attorneys-at-Law                                                                          Taipei, Taiwan
Apprentice Attorney                                                                     August 1994 - January 1995
Researched and drafted legal memoranda in the areas of construction arbitration, civil and criminal litigation.
Prepared legal documents for hearings. Drafted the proposal regarding foreign counsels’ admission to practice law in
Taiwan submitted to the Ministry of Justice.

Ministry of Justice                                                                               Taipei, Taiwan
Legal Specialist                                                                            July 1991 - July 1994
Assisted in the revision of two parts of the Civil Code (Obligations and Rights In Rem). Performed extensive
research in the areas of computer-processed personal data protection and freedom of government information.
Provided other government departments with legal opinions about the application of the Civil Code, and reviewed
treaties and other diplomatic documents.

LA GUAGES: Fluent in Mandarin Chinese
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Youngmin Kim
431 El Camino Real APT 1207, Santa Clara, CA 95050
(408) 510 1541
Ykim3@scu.edu


Summary                  •   Demonstrated strong analytical skill through academic achievements in various areas not
                             limited to law but including advanced sciences, statistics, and economics.
                         •   International background, have lived in Korea, Japan, Canada, and USA combined with
                             fluency in several languages, including Korean, Japanese.
                         •   Ability to adapt to new environment quickly and learn new concepts efficiently.
                         •   Extensive computer knowledge, including basic office software to various financial tools
                             including Bloomberg, STATA.
                         •   Enthusiastic, responsible and committed to given assignment.
                         •   Currently taking Federal Personal Income Taxation, Federal Taxation of Business
                             Entities.


Education                J.D. Candidate Class of 2010                                                          Current
                         Santa Clara University; School of Law, Santa Clara, CA
                         B.A. in Biological Science                                                             02-06
                         University of Chicago, Chicago, IL
                         Minor Courses: Statistics, Physics

                         International Baccalaureate Diploma                                                    98-02
                         Saint Mary’s International School, Tokyo, Japan


Career History & Accomplishments
                         Summer Associate, Yoon Yang Kim Shin & Yu; Seoul, Korea                             Sum. 08
                         • One of the top 3 law firms of Korea with more than 200 attorneys, provides
                           high quality legal services in broad areas including domestic, international
                           intellectual property law.
                         • Worked in the international law department, which specializes in
                           international business transactions and M&A.
                         • Analyzed and reviewed international intellectual property contracts including
                           P2P contract disputes, advertisement copyright disputes.
                         • Researched, revised construction contracts dealing with Force majeure.


                         IT Analyst, Univ. of Chicago; Graduate School of Bus.; Chicago, IL                    Sum .06
                         • Responsible for monitoring network traffic of the school network, computer
                           trouble shooting for demanding business students.
                         • Assisted business school professors with financial, economic researches
                           using specific financial software.



Current Activities
                     •       Santa Clara Computer & High Tech. Law Journal; Santa Clara, CA (Associate)
                     •       Asian Pacific American Law Students Association; Santa Clara, CA (Com. Chair)
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NATALIE KABASAKALIAN                                                    natalie.kabasakalian@gmail.com
                                                                                    43 Calton Road #5C
                                                                                New Rochelle, NY 10804
                                                                                         (646) 322-8671

LITIGATION
Karon LLC (formerly Goldman Scarlato & Karon), New York, NY                                   2009 - Present
   Discovery analysis and trial preparation in several major international anti-trust class actions.
Labaton Sucharow LLP, New York, NY                                                                2001 - 2009
   Developed factual support and litigation strategy leading to $185 million settlement for the plaintiff
   class, at that time the largest settlement in a securities fraud case predicated on failure to bring
   an investigational drug to market. Served as core litigation team member engaged in pre-trial and
   trial strategy decisions. Conducted and managed all aspects of fact and expert discovery.
   Supervised junior attorneys and staff, including large team of attorney document reviewers.
Appellate Division, Supreme Court of the State of New York (2d Department)                       1999 - 2001
   Researched and wrote bench memoranda in civil and criminal appeals.
The Honorable Robert M. Levy, United States Magistrate Judge, E.D.N.Y.                           1997 - 1998
   Researched and drafted reports and recommendations.
Law Office of Emily M. Bass                                                                   1995 - 1996
   Litigation associate on cases including landmark author electronic rights case Tasini v. New York
   Times Co., Inc.

INTERNATIONAL LAW, HUMAN RIGHTS, AND CIVIL RIGHTS
Center for Constitutional Rights
   Volunteer Attorney. Completed significant research memo comparing the law of three U.S.
   circuits on prisoners’ due process rights. 2013.
Pace/ICLN International Criminal Court Moot
   Moot Court Judge, Regional Round for the Americas and Caribbean. 2010 and 2012.
New York City Bar Association (“NYCBA”), International Law Committee
   Member, 2008-2010. In February 2010, organized and moderated distinguished panel on
   “International Law and the War on Terror: State Obligations to Individual Persons.”
NYCBA, Committee on Military Affairs and Justice
   Solely authored and co-authored amicus curiae briefs for Bar Association in federal actions
   relating to executive war powers and detainee rights; co-authored paper on military commissions.
   2004-2007
Independent Trial Observer, Bogotá, Colombia
    Met with Colombian, United States, and United Nations officials to discuss human rights concerns
    stemming from 2003-2004 courtroom observation of criminal trial of three Irish citizens accused of
    terrorism-related crimes. Wrote reports on observations of proceedings and fair trial issues, used
    with success to alter Irish government’s diplomatic position on the case.
Pro Bono counsel, New York, NY
    For several clients facing extradition and immigration proceedings, researched and drafted
    appellate briefs on extradition law, foreign laws, and public international law, including novel
    issues under 1996 immigration reform law. 1998-2002
Amnesty International USA, New York, NY
  Country Specialist, United Kingdom and Ireland, 1999-2002. Liaised with media, legislators, and
  other advocates to promote AI positions on human rights issues in United Kingdom and Ireland.
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Irish Parades Emergency Committee, Northern Ireland and New York, NY
     Observed parades for compliance with local and international standards. Met with government
     and community stakeholders. Co-drafted 2000 report with findings and recommendations.

OTHER EXPERIENCE AND SKILLS
 TEACHING
   Legal Writing and Oral Advocacy (New York Law School)
   Public International Law (The New School, Eugene Lang College)
 LEGAL INTERNSHIPS AND RESEARCH POSITIONS
   Professor David Golove (University of Arizona College of Law, Tucson, AZ)
    Researched issues in constitutional and foreign relations law for article on executive
    treaty-making power, Is NAFTA Constitutional?, 108 Harv. L. Rev. 799 (1995).
   United States Attorney’s Office (S.D.N.Y.)
    Law Clerk, Organized Crime Division.
   Human Rights First (Lawyers Committee for Human Rights) (New York, NY)
    Immigration and Asylum Program.
   The Workplace Project (Hempstead, NY)
    Advocated for Spanish-speaking client base at legal clinic for labor-related complaints.
 NON-PROFIT ADMINISTRATION AND PROGRAMMING
   Generation of periodic reports on staffing, budgets, programming for regional foreign program
    desks at major international development NGOs (CARE, Catholic Relief Services)
   Recruitment, counseling, outreach, applicant selection (New School for Social Research; Self-
   Help Housing Corporation of Hawaii; College Venture Consortium)
   Program promotion and generation of promotional materials (New School for Social Research;
    College Venture Consortium)
   Management and supervision of junior staff (New School for Social Research)
 LANGUAGES AND TRAVEL
    Functional proficiency in French, Spanish, Italian.
    Extensive travel, including for study and residence, in Europe, Latin America, Asia.

EDUCATION
ACADEMY OF INTERNATIONAL HUMANITARIAN LAW, GENEVA, SWITZERLAND                               LLM, May 2009
   Master’s in International Humanitarian Law and Human Rights (With Merit).
BENJAMIN N. CARDOZO SCHOOL OF LAW, NEW YORK, NY                                                JD, June 1995
   Honors included Cardozo Law Review and the Jacob Burns Fellowship.
BROWN UNIVERSITY, PROVIDENCE RI                                    AB (Latin American Studies), May 1987
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                             Description of the Besmer Law Firm



         Veronica Besmer, the founding attorney of the Besmer Law Firm, litigated antitrust cases
for about a decade. She began working on antitrust class actions in 2004 as a law clerk at Alioto,
Trump & Prescott, LLP. At Townsend and Townsend and Crew LLP, she worked with Gene
Crew, the firm's name paiiner and California Antitrust Lawyer of the Year 2009, on several
antitrust c~ses between 2006 and 2009. Ms. Besmer since participated in the LCD price fixing
litigation and became an attorney of record on behalf of the indirect purchaser plaintiffs in the
CRT case in 2011.

        In addition to antitrust litigation, the Besmer Law Firm also provides corporate legal
services to start ups and advises companies located abroad on establishing a presence and
operations in the United States. Ms. Besmer received her law degree from U.C. Hastings College
of the Law and received her bachelor's degree, swnma cum laude, in business administration
from the University of Southern California. She is the incoming Co-Vice President of the
California State Bar's Cyberspace Law Committee.
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                                          DAE LIM
                                       Young Jim PLC
                                     Korea IP Center 12F
                                       131 Teheran‐ro
                                        Gangnam‐gu
                                       Seoul 135‐980
                                            Korea

EDUCATION: Undergraduate:           Yonsei University, Seoul Republic of Korea‐
           Law School:              UC Hastings COL: San Francisco

Admitted to The State Bar of California: September 1, 2010


ANTITRUST EXPERIENCE: Document review of Korean documents in LCD Antitrust litigation;
                      Document review/translations of Korean documents in CRT Antitrust
                      litigation.
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                                                       YOOBIN KANG
                               210 W. Temple Street, Los Angeles, CA • 310.869.4126 • yoobin@gmail.com

BAR
Admitted to CA Bar December 13, 2011 - #282184

EDUCATION
LOYOLA LAW SCHOOL, LOS ANGELES
Juris Doctor, received May 2011
Class Rank:       3.86 Annual G.P.A. (Ranked Top 15% in 2009-2010); 3.67 Cumulative G.P.A. (Ranked Top 20% in 2010-2011)
Honors:           Dean’s Honor List (2009-2010); Jesuit Community Scholarship Recipient (2010-2011);
                  Korean American Bar Association Scholarship Recipient (2008)
Law Review:       Chief Articles Editor, Loyola of Los Angeles International and Comparative Law Review (2010-2011)
Trial Advocacy: The William C. Hobbs District Attorney Clinic (2010-2011) (Received the highest grade of “A”)
Activities:       Jessup International Moot Court (Invited for 2010-2011); Board Member, Women’s Law Association (2009-2010)
UNIVERSITY OF CALIFORNIA, LOS ANGELES
Bachelor of Arts in Sociology and Minor in Political Science, received March 2005
Honors:           Dean’s Honor List (Fall 2003, Spring 2004); Alpha Kappa Delta

EXPERIENCE
LOS ANGELES COUNTY DISTRICT ATTORNEY’S OFFICE, Los Angeles, CA
Deputy District Attorney                                                                                                   May 2012-Present
Volunteer Law Clerk – Major Crimes Division, Los Angeles, CA                                                          October 2011-March 2012
Assisted with case management, trial organization, and preparation for capital cases involving serial killers such as the South Side Slayer and
the Grim Sleeper; researched and drafted several motions pertaining to complex legal issues; coordinated witnesses and victim impact
evidence during the guilt phase of trial; interviewed and prepared victim impact and expert witnesses.
HORVITZ & LEVY LLP, Encino, CA
Law Clerk                                                                              September 2011-October 2011; August 2010-May 2011
Edited appellate briefs for filing in United States Supreme Court, United States Court of Appeals, California Supreme Court, and California
Court of Appeal; prepared oral argument; drafted a weekly memorandum summarizing California Supreme Court petition conferences.
COLEMAN & ASSOCIATES, Los Angeles, CA
Summer Associate/Law Clerk                                                                                               June -August 2010
Drafted motions and pleadings, including motion for summary judgment, motion to dismiss complaint, discovery motions, and orders;
performed extensive legal research and drafted memoranda; prepared and appeared for a deposition of third party witness.
DONFELD, KELLEY & ROLLMAN, Los Angeles, CA
Law Clerk                                                                                                         September 2008-May 2010
Conducted legal research on real-estate transactional laws; drafted memoranda on issues such as restrictive covenants and California
development agreements, the Davis Sterling Act, and nonconforming use; prepared interrogatories and depositions.
LOYOLA LAW SCHOOL, Professor Brietta Clark, Los Angeles, CA
Legal Research Assistant                                                                                                  May 2008-May 2010
Researched issues of health care law; drafted memoranda on health care access issues, including insurance rescissions, racial disparity in
health care, hospital tax-exempt status on charitable care, usage of pain medication, and housing access and health care.
UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA, Los Angeles, CA
Judicial Extern to Honorable Thomas B. Donovan                                                                      August-December 2009
Conducted legal research and drafted memoranda for Judge’s review on various legal issues such as attorney fee disputes, authority to enter
into lease extension, usage of cash collateral in bankruptcy estate, and Chapter 7 and 11 relief from stays.
ORANGE COUNTY DISTRICT ATTORNEY’S OFFICE, Santa Ana, CA
Law Clerk, Juvenile Court – Lamoreaux Justice Center                                                                              Summer 2009
Conducted legal research and assisted in juvenile case filings; updated training materials; drafted various motions for pending juvenile court
cases such as Dennis H. hearings and Ryan B. motions.

ADDITIONAL: • Languages: Fluent Korean; Proficient Japanese (passed Japanese Language Proficiency Test Level 1) • The Loyola Law
School Center for Conflict Resolution: Mediation Training Certificate received • Interests: Piano, Dog Training, Cooking
              Case 4:07-cv-05944-JST Document 4373-1 Filed 02/04/16 Page 25 of 39
                                              SILVIA M. ROELL, LL.M.
                                                  Attorney at Law*
             Dillberg 41 • 92353 Postbauer-Heng • Germany • +49 176 560 51551 • silvia.roell@gmail.com
                                                   *currently inactive



                                                    BAR STATUS

•   Admitted to California Bar, August 2008
•   Admitted to German Bar, August 2006

                                                 LEGAL EXPERIENCE

Cleary Gottlieb Steen & Hamilton, LLP, Brussels, Belgium
Contract Attorney
04/2011 – Present, 07/2010 – 12/2010, 03/2010 – 04/2010
• Working on several antitrust compliance investigations through EU and US Regulators
• Translating settlement agreement from French into German
• Reviewing pertinent evidence in English, French and German
• Preparing summaries and memoranda relating to evidence of illicit collaboration discovered in the review process

Trump Alioto Trump & Prescott, LLP, San Francisco, USA
Contract Attorney
04/2007 – 07/2009
• Working on antitrust class actions regarding price fixing
• Representing indirect purchasers in depositions
• Drafting complaints and other legal documents
• Translating complaints from English to German in order to serve them in Germany according to the Hague
   Convention
• Reviewing documents in English and German and preparing memoranda relating to discovered evidence of illicit
   conduct
• Researching procedural and substantive law issues regarding antitrust class actions

CoreOptics Inc., Nuremberg, Germany
Contract Attorney
01/2006 – 12/2006
• Working for the legal division
• Drafting and reviewing international business contracts
• Drafting notices and advising on labour law issues
• Researching case law regarding notice and redundancy due to business operations
• Preparing memoranda regarding the Sarbanes-Oxley Act

Law Offices of Kenneth A. Lipson, San Francisco, USA
Law clerk
06/2005 – 11/2005
• Drafting pleadings and demand letters
• Summarising depositions and preparing files for hearing
• Interviewing witnesses

Law Offices of Brigitte Ecker, Passau, Germany
Law clerk
02/2005 – 06/2005
• Drafting pleadings in family and tenancy law
• Interviewing clients
• Researching and analysing Supreme Court decisions
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                                              SILVIA M. ROELL, LL.M.
                                                  Attorney at Law*
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                                                      *currently inactive



Administrative Court of Regensburg, Regensburg, Germany
Law clerk
12/2004 – 02/2005
• Writing opinions and prohibitory injunctions with an emphasis on the law of trade and drivers’ licenses
• Participating in court proceedings

District Office, Freyung-Grafenau, Germany
Law clerk
06/2004 – 12/2004
• Drafting pleadings and memoranda of law with an emphasis on planning laws and building regulations
• Participating in assemblies

Office of the District Attorney, Deggendorf, Germany
Law clerk
04/2004 – 06/2004
• Representing the District Attorney in trials for misdemeanours
• Preparing indictments and closing arguments for trials
• Writing memoranda of law

District Court, Deggendorf, Germany
Law clerk
10/2003 – 04/2004
• Drafting judgments and injunctions in the fields of contracts, torts and remedies
• Participating in trials and preparing interrogations of parties and witnesses
• Writing memoranda of law

                                                      INTERNSHIPS

District Office, Neumarkt i.d.OPf., Germany
Law intern
08/2001
• Participating in trials in the administrative court
• Gaining insight in the different divisions and the different legal issues involved

District Court, Passau, Germany
Law intern
03/2000
• Participating in criminal trials
• Introduction to procedural and substantial criminal law issues

Lucent Technologies Inc., Law Division, Holmdel, USA
Law intern
08/2009
• Analyzing warranty and indemnity clauses in international contracts
• Translating contracts from German into English
• Introduction to the different legal divisions
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                                              SILVIA M. ROELL, LL.M.
                                                  Attorney at Law*
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                                                    *currently inactive


                                                     EDUCATION

Golden Gate University, School of Law, San Francisco, USA
• LL.M. in Intellectual Property Law, 2010
   • Master Degree in Intellectual Property Law focusing on International as well as U.S. Copyright, Trademark and
       Patent law
   • Entertainment Law comprising talent contracts, film, music and book publishing as well as Virtual Law
   • Content licensing and drafting business contracts
   • Internet & Software Law
   • Federal Income and Corporate Tax Law

•   LL.M. in U.S. Legal Studies, 2006
    • Master Degree in United States Legal Studies, focusing on the legal system of the United States
    • Law of Corporations including the Sarbanes-Oxley Act
    • Property Law, Constitutional Law and Law of Evidence
    • Graduate Legal Research using Westlaw and LexisNexis

University of Passau, Faculty of Law, Passau, Germany
• Erstes Juristisches Staatsexamen, 2003
   • Diploma in German law
   • Civil, Criminal Administrative Law
   • European and Tax Law

L’Université du Maine, Faculté du Droit et des Sciences Economiques Le Mans, France
• Diplôme d’études universitaires générales, 2001
    • 2nd year diploma in law
    • Year abroad as part of German Law Degree studying French and European Law
    • All classes and exams were taken in French

                                                         SKILLS

Languages
• German: mother tongue
• English: fluent
• French: fluent
• Spanish: beginner

IT
• Word, Excel, PowerPoint, Outlook
• LexisNexis and Westlaw
• Concordance, Summation, Liquid Litigation Management, Autonomy
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              EXHIBIT B
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